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                                                                                            2020 Nov-25 AM 09:05
                       IN THE UNITED STATES DISTRICT COURT                                  U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                  JASPER DIVISION

SELECT PORTFOLIO SERVICING, INC., )
                                    ) Case No. 6:20-cv-00373-GMD
        Plaintiff,                  )
                                    )
        v.                          )
                                    )
UNITED STATES OF AMERICA,           )
INTERNAL REVENUE SERVICE;           )
JAYAKRISHNA GUNDAVELLI; and         )
JENNIFER DAWN BURLESON              )
BATCHELOR,                          )
                                    )
        Defendants.                 )
____________________________________)

                               Report of Parties' Planning Meeting

      1.    Pursuant to Fed. R. Civ. P. 26(f), a telephonic meeting was held on November 12,
2020, and was attended by Gilbert C. Steindorff IV for the Plaintiff, Albert Boykin for
Jayakrishna Gundavelli, and Genesis Martinez for the Unites States of America.

      2.    Pre-Discovery Disclosures. The parties have exchanged the information required by
Local Rule 26.1(a)(1).

        3.    Discovery Plan. The parties jointly propose to the court the following discovery
plan:

        Discovery will be needed on the extent, validity, and priority of federal tax liens and
        residential real estate mortgages.This is a lien priority case involving a federal tax lien and
        residential real estate mortgages. This is a case of normal complexity. The parties do not
        believe discovery should be limited, except as provided by the Federal Rules of Civil
        Procedure.

        All discovery commenced in time to be completed by May 12, 2021.

        Limitations on the number of interrogatories by each party to any other party and the
        deadline for answers to be served shall be governed by Rule 33(a)(1), Fed. R. Civ. P, which
        at present provides for a maximum of twenty-five (25) interrogatories by each party to any
        other party and a response deadline of thirty (30) days.
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      Limitations on the number and duration of depositions shall be governed by Rule 30, Fed.
      R. Civ. P., which at present provides for a maximum of ten (10) depositions taken by
      plaintiff or defendants, with each deposition limited to one (1) day of seven (7) hours.

      Reports from retained experts under Rule 26(a)(2) due:

            from plaintiff by March 1, 2021;
            from defendant(s) by April 1, 2021.

      Supplementations under Rule 26(e) due March 1, 2021 or promptly upon discovery of the
need to supplement, whichever is earlier.

      4.    Other Items.

      The parties do not request a conference with the court before entry of the scheduling order.

      The parties will produce electronically stored information (“ESI”) in a manner that is useful
      to humans, efficient, and preserves authenticity. The parties agree that, unless expressly
      requested otherwise, ESI may be produced in Adobe Acrobat (.PDF) format for
      convenience; however, the parties agree in good faith to consider specific requests for
      production in native format to the extent information that could be relevant to any claim or
      defense could only be discovered in native format. IRS account transcripts cannot be
      produced in native format, but will be produced in .PDF format.

      All documents are to be produced electronically and with Bates numbering. In regard to
      requests for production, each request is to be answered by producing all responsive
      documents in their native format, as well as a written response that identifies such
      documents by Bates number and includes any objections. All responsive documents should
      be produced electronically by email, secure file-sharing service, or via overnight mail (in
      paper or scanned, on a thumb drive or disc).

      Plaintiff should be allowed until January 12, 2021, to join additional parties and until
      January 12, 2021 to amend the pleadings.

      All potentially dispositive motions should be filed by July 12, 2021.

      Settlement cannot be realistically evaluated prior to the close of discovery, although the
      parties will work together diligently throughout the litigation to work toward settlement to
      the extent possible and appropriate.

      The parties request a final pretrial conference in September 2021.

      Final lists of trial evidence under Rule 26(a)(3) should be due:
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            from plaintiff: witnesses by twenty-one (21) days prior to trial; exhibits by eighteen
            (18) days prior to trial

            from defendant(s): witnesses by eighteen (18) days prior to trial; exhibits by fifteen
            (15) days prior to trial

     Parties should have five (5) days after service of final lists of trial evidence to list objections
     under Rule 26(a)(3).

     The case should be ready for trial by November, 2021, and at this time is expected to take
     approximately one (1) day.

Dated: November 25, 2020

                                        RICHARD E. ZUCKERMAN
                                        Principal Deputy Assistant Attorney General

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 25, 2020, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system.


                                      /s/ Genesis Martinez
                                      Genesis Martinez
                                      Trial Attorney
                                      United States Department of Justice, Tax Division
